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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT



WILLIAM F. RAMIREZ,                          :       CIVIL NO. 3:18-CV-01353 (WWE)
                                             :
                Plaintiff,                   :
                                             :
                v.                           :
                                             :
CITY OF NEW HAVEN                            :
          Defendant.                         :       JANUARY 28, 2019

                        STIPULATION OF DISMISSAL
          WITH PREJUDICE AND WITHOUT ATTORNEYS’ FEES AND COSTS

         Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiff, WILLIAM F.

RAMIREZ, and Defendant, CITY OF NEW HAVEN, hereby stipulate and agree that the above

captioned action shall be dismissed with prejudice and without costs or attorney fees to any

party.

Willinger, Willinger & Bucci, P.C.    Littler Mendelson, P.C.
Attorneys for Plaintiff,              Attorneys for Defendant,


By:/s/ Thomas W. Bucci                By: /s/ Christopher Neary
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Dated: January 28, 2019               Dated: January 28, 2019
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                                      Certificate of Service

       I hereby certify that on January 28, 2019, a copy of foregoing Stipulation of

Dismissal was filed electronically and served on anyone unable to accept electronic filing.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s

electronic filing system or by mail to anyone unable to accept electronic filing as indicated

on the Notice of Electronic Filing. Parties may access this filing through the Court’s

CM/ECF System.

                                      THE PLAINTIFF – WILLIAM F. RAMIREZ

                                      By /s/Thomas W. Bucci
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